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  8
  9                    IN THE UNITED STATES DISTRICT COURT
10                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12
      ASHTON FORBES,                              3:20-cv-00998-BAS-JLB
13
                                      Plaintiff, STATE DEFENDANTS’ REPLY IN
14                                               SUPPORT OF MOTION TO
                  v.                             DISMISS SECOND AMENDED
15                                               COMPLAINT
16    COUNTY OF SAN DIEGO,                       Judge:     Hon. Cynthia A. Bashant
      GOVERNOR GAVIN NEWSOM in                   Courtroom: 4B
17    his official capacity, ERICA PAN, in
      her official capacity, and DOES 1-50,
18                                                Hearing Date : Tuesday, Sept. 8, 2020
                                   Defendants.
19                                                NO ORAL ARGUMENT UNLESS
                                                  REQUESTED BY THE COURT
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  1                                     INTRODUCTION
  2        California Governor Gavin Newsom and Acting State Public Health Officer,
  3   Dr. Erica Pan1 (“State Defendants”) hereby submit this reply in response to
  4   Plaintiff’s Opposition (ECF No. 13),2 and in further support of the State
  5   Defendants’ motion to dismiss the Second Amended Complaint (“SAC”).
  6        Plaintiff concedes that “public health officials do have the right and power to
  7   safeguard their citizenry against contagious disease for the general welfare of their
  8   locality.” Opp’n at 14:12–14.3 He disputes, however, whether the COVID-19
  9   pandemic is really as severe as it appears (see id. at 6–8), and whether masks are
10    really effective in combating the pandemic (see id. at 8–9). As the State
11    Defendants’ motion demonstrated, however, there is no merit to Plaintiff’s efforts
12    to manufacture scientific controversy here: the June 18 Guidance regarding face
13    coverings (the “Mask Order”) is supported by a wide and deep scientific consensus.
14    See, e.g., ECF No. 12-1, at 10–12; ECF No. 12-2, Exs. 5-8.
15         But even if one were to assume (for purposes of this motion to dismiss) that
16    the science supporting cloth face coverings “remains unsettled” (Opp’n at 8:13),
17    Plaintiff still could not maintain this lawsuit. Federal courts “are vested with the
18    authority to interpret the law;” they “possess neither the expertise not the
19    prerogative to make policy judgments.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567
20    U.S. 519, 538 (2012) (opinion of Roberts, C.J.). Plaintiff may disagree with the
21          1
              Dr. Erica Pan is now Acting State Public Health Officer, having succeeded
22    Dr. Sonia Angell on August 9, 2020. Pursuant to Rule 25(d) of the Federal Rules
      of Civil Procedure, Dr. Pan is automatically substituted for Dr. Angell as defendant.
23
      See SAC, ¶ 7 (naming Dr. Angell, in her official capacity as State Public Health
24    Officer, as a defendant).
            2
25            Although Plaintiff’s opposition is styled as a defense to the San Diego
      County Defendants’ motion alone, it appears to address arguments made by the
26    State Defendants, as well. Accordingly, the State Defendants construe it as an
27    opposition to both pending motions to dismiss.
            3
              Citations to page numbers in the Opposition and to the State Defendants’
28    motion to dismiss are to ECF page numbers in blue at the top of the page.
                                                    1
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  1   Mask Order as a policy matter, but—as explained below and in the motion to
  2   dismiss—he states no legal claim against it.
  3        This conclusion would only be bolstered if it were true, as Plaintiff contends,
  4   that the policy wisdom of the Mask Order is open to debate. When state officials
  5   act to protect public health and safety “in areas fraught with medical and scientific
  6   uncertainties, their latitude must be especially broad.” S. Bay United Pentecostal
  7   Church v. Newsom, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J., concurring).
  8   Plaintiffs’ claims would fail under any constitutional standard; their failure is only
  9   heightened by the deference due to directives, such as the Mask Order, aimed at
10    combating a public health emergency.
11         For these reasons, and because any amendment would be futile, the complaint
12    should be dismissed without leave to amend.
13                                        ARGUMENT
14    I.   THE MASK ORDER IS CONSTITUTIONAL UNDER JACOBSON.
15         The Supreme Court has long recognized that “a community has the right to
16    protect itself against an epidemic of disease which threatens the safety of its
17    members.” Jacobson v. Massachusetts, 197 U.S. 11, 27 (1905) (internal quotation
18    marks omitted); see also Kansas v. Hendricks, 521 U.S. 346, 356 (1997)
19    (recognizing the continuing vitality of Jacobson). As the Chief Justice has
20    emphasized in the context of the COVID-19 pandemic, federal courts should give
21    broad latitude to state officials seeking to protect public health and safety,
22    particularly “in areas fraught with medical and scientific uncertainties.” S. Bay
23    United Pentecostal Church, 140 S. Ct. at 1613 (citing, inter alia, Jacobson, 197
24    U.S. 11). Thus, under “the Supreme Court’s framework for reviewing
25    constitutional challenges to state actions taken in response to a public health
26    crisis”—that is, under the Jacobson framework—significant deference is due to
27    state officials’ public health judgments. In re Rutledge, 956 F.3d 1018, 1027 (8th
28    Cir. 2020). And, under that Jacobson framework—which Plaintiff agrees is
                                                   2
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  1   controlling (see Opp’n at 11–12)—there is no question that the Mask Order is
  2   constitutional.
  3        First, there is no question that the Mask Order has a “real or substantial
  4   relation to the protection of the public health.” Jacobson, 197 U.S. at 31. Although
  5   Plaintiff contends that “the effectiveness of masks for COVID-19 does not garner
  6   near universal consensus” (Opp’n at 13:8–9), Jacobson does not require “universal
  7   consensus.” Such a requirement would, of course, be incompatible with the
  8   deference due to state officials when they act “in areas fraught with medical and
  9   scientific uncertainties.” S. Bay United Pentecostal Church, 140 S. Ct. at 1613.
10    Indeed, Jacobson itself acknowledged that some medical professionals “attach[ed]
11    little or no value to vaccination as a means of preventing the spread of smallpox.”
12    197 U.S. at 30. Jacobson, however, left it to state officials to resolve this policy
13    debate:
14         We must assume that, when the statute in question was passed, the
           legislature of Massachusetts was not unaware of these opposing theories,
15         and was compelled, of necessity, to choose between them. It was not
           compelled to commit a matter involving the public health and safety to
16         the final decision of a court or jury. It is no part of the function of a court
           or a jury to determine which one of two modes was likely to be the most
17         effective for the protection of the public against disease. That was for the
           legislative department to determine in the light of all the information it
18         had or could obtain. It could not properly abdicate its function to guard
           the public health and safety. The state legislature proceeded upon the
19         theory which recognized vaccination as at least an effective, if not the
           best-known, way in which to meet and suppress the evils of a smallpox
20         epidemic that imperiled an entire population.
21
22    Id. at 30–31. Indeed, courts have subsequently framed Jacobson’s requirement of a
23    “real or substantial relation to the protection of the public health” as an inquiry into
24    whether putative public-health measures are “pretextual”—and have cautioned that
25    “courts may not second-guess the wisdom or efficacy of the measures.” In re
26    Abbott, 954 F.3d 772, 785 (5th Cir. 2020); accord Rutledge, 956 F.3d at 1028.
27         In this light, there is no question that the Mask Order has a real and substantial
28    relation to the public health goal of slowing the spread of COVID-19. Although
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  1   Plaintiff selectively cites a handful of cherry-picked data points—including studies
  2   on influenza (see Opp’n at 8–9, 13–14), which the CDC has found to be less
  3   contagious than COVID-194—to second-guess the wisdom or efficacy of the Mask
  4   Order, he does not and cannot allege that the Mask Order is pretextual.5
  5        Second, the Mask Order is not “beyond all question, a plain, palpable
  6   invasion” of constitutional rights. Jacobson, 197 U.S. at 31; accord Rutledge, 956
  7   F.3d at 1027. Consistent with Jacobson, the Mask Order contains “basic
  8   exceptions for extreme cases.” Abbott, 954 F.3d at 785. For example, the Mask
  9   Order (which requires coverings only in certain public settings that present elevated
10    public health risk to begin with) expressly exempts those with medical conditions
11    incompatible with face coverings. And indeed, as explained more fully below (see
12    Section II, infra) the Mask Order does not infringe constitutional rights at all—let
13    alone “plainly,” “palpably,” or “beyond all question.”
14         In sum, Plaintiff does not, and cannot, allege facts showing that the Mask
15    Order is arbitrary, or was implemented as a pretext to achieve some other,
16    unspecified goal unrelated to public health.6 Under the Jacobson framework, the
17    motion to dismiss should be granted.
18          4
                See, e.g., Centers for Disease Control and Prevention (CDC) website,
19    Similarities and Differences between Flu and COVID-19, How it Spreads (noting
      that “COVID-19 is more contagious among certain populations and age groups than
20    flu. Also, COVID-19 has been observed to have more superspreading events than
21    flu. This means the virus that causes COVID-19 can quickly and easily spread to a
      lot of people and result in continuous spreading among people as time
22    progresses.”), available at https://www.cdc.gov/flu/symptoms/flu-vs-
23    covid19.htm#:~:text=Influenza%20(Flu)%20and%20COVID%2D19%20are%20bo
      th%20contagious%20respiratory,by%20infection%20with%20influenza%20viruses
24    . (last visited Aug. 29, 2020).
            5
25            And in fact, notwithstanding Plaintiff’s arguments to the contrary, there is a
      deep and wide scientific and medical consensus supporting the imposition of mask
26    requirements, including but not limited to recent guidance issued by the CDC and
27    the WHO. See, e.g., ECF No. 12-1 at 10-12; ECF No. 12-2, Exs. 6-8.
              6
                Plaintiff’s reliance on Jew Ho v. Williamson, (cite) (see Opp’n at 16), is
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  1   II. PLAINTIFF FAILS TO STATE A CONSTITUTIONAL CLAIM UNDER ANY
          STANDARD.
  2
  3        Ultimately, however, it is unnecessary to rely on Jacobson to grant the State
  4   Defendants’ motion to dismiss. As explained below, Plaintiff fails to state a claim
  5   even under modes of constitutional analysis that apply outside the context of public
  6   health emergencies.
  7        A.    Plaintiff Fails to State a Claim for “Violation of California’s
                 Police Power.”
  8
  9        As to Plaintiff’s purported claim for “violation of California’s police power”
10    (SAC, ¶¶ 41-53), Plaintiff does not specifically address, let alone refute, the
11    fundamental defect identified in the motion. See ECF No. 12-1 at 17–21.7 There is
12    no such claim, as a matter of federal law: in the absence of a specific constitutional
13    limitation to the contrary, the State’s police power to protect public health and
14    safety is plenary. See, e.g., Torres v. Lynch, 136 S. Ct. 1619, 1625 (2016). And, as
15    explained below and in the motion to dismiss, the Mask Order does not violate any
16    federal constitutional rights.
17         This claim also fails for an additional reason: as Plaintiff’s opposition makes
18    clear, he seeks to invoke purported state-law limitations on California’s police
19    power. See Opp’n at 15–16 (citing state-law cases). But even if Plaintiff’s state-
20    law argument were correct (which it is not), it would be barred by sovereign
21
      borderline frivolous and barely merits mentioning. Jew Ho is “clearly inapposite”
22    because it involved a “racially-motivated and scientifically-unfounded quarantine
      of San Francisco’s Chinatown.” Givens v. Newsom, No. 2:20-cv-00852-JAM-
23
      CKD, 2020 WL 2307224, at *9 (E.D. Cal. May 8, 2020).
24           7
               Indeed, Plaintiff’s opposition repeatedly fails to address arguments raised in
25    the State Defendants’ motion to dismiss. Plaintiff has therefore waived any
      opposition to those arguments. See, e.g., F.D.I.C. v. Garner, 126 F.3d 1138, 1145
26    (9th Cir. 1997) (finding that appellant waived issue where they presented no case
27    law or argument in support of their contention of error). Such waiver, alone, would
      be a sufficient basis on which to grant the State Defendants’ motion to dismiss.
28
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  1   immunity: “a federal suit against state officials on the basis of state law contravenes
  2   the Eleventh Amendment when—as here—the relief sought . . . has an impact
  3   directly on the state itself.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.
  4   89, 117 (1984). For this reason, too, this claim should be dismissed. See, e.g.,
  5   Cholla Ready Mix, Inc. v. Civish, 382 F.3d 969, 973–74 (9th Cir. 2004) (affirming
  6   dismissal of a state-law claim under Pennhurst).
  7        B.    Plaintiff’s Right-to-Privacy and “Right to Personal Medical
                 Decisions” Claims Fail.
  8
  9        As explained in the State Defendants’ motion to dismiss (see ECF No. 12-1 at
 10   21, 23), Plaintiff’s claims for violation of the right to privacy and the “right to
 11   personal medical decisions” (SAC, ¶¶ 54-62, 72-79) fail as a matter of law.
 12        Plaintiff’s privacy claim fails because, as explained in the motion (ECF No.
 13   12-1 at 21), the Mask Order requires only that individuals wear a face covering in
 14   certain high-risk public settings. This alone is fatal to Plaintiff’s right-to-privacy
 15   claim: the right to privacy does not follow an individual into public spaces. See
 16   Paris Adult Theatre I v. Slaton, 413 U.S. 49, 66–67 (1973). Moreover, the right to
 17   decide for oneself whether to wear a face covering in public amid a global
 18   pandemic is not the kind of fundamental liberty interest that courts have historically
 19   recognized as protected under the constitutional right to privacy. See Paris Adult
 20   Theatre I, 413 U.S. at 65; Carey v. Population Servs., Int’l, 431 U.S. 678, 684–85
 21   (1977). Whether to wear a mask in public is simply not the kind of intimate
 22   decision that the right to privacy has been held to protect. See, e.g., Fields v.
 23   Palmdale Sch. Dist., 427 F.3d 1197, 1208 (9th Cir. 2005), as amended on denial of
 24   rehearing, 447 F.3d 1187 (9th Cir. 2006) (collecting cases recognizing a right to
 25   privacy in the context of “intimate decisions” involving procreation and the family).
 26        As to Plaintiff’s claim based on an asserted “constitutional right to personal
 27   medical decisions,” Plaintiff appears to treat that claim as interchangeable with his
 28   right-to-privacy claim (see Opp’n at 16–17)—effectively conceding that the two
                                                    6
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  1   claims are coextensive. So construed, Plaintiff’s “right to personal medical
  2   decisions” claim fails for the same reasons as his right-to-privacy claim. But even
  3   if that claim were addressed separately, it would fail for additional reasons.
  4        First, even taking Plaintiff’s asserted “right to personal medical decisions” at
  5   face value, it strains credulity to describe the Mask Order as implicating “medical
  6   decisions” in any meaningful sense. A requirement to wear a mask in public cannot
  7   plausibly be described as “medical treatment” (cf. SAC, ¶¶ 75–76): it is not at all
  8   comparable, for example, to “the forced administration of life-sustaining medical
  9   treatment” at issue in the case on which Plaintiff relies (SAC, ¶ 75). See Cruzan by
 10   Cruzan v. Dir., Missouri Dep’t of Health, 497 U.S. 261, 278 (1990).
 11        Second, and more fundamentally, there is no indication that courts have ever
 12   recognized an absolute “right to personal medical decisions” of the kind Plaintiff
 13   seems to advocate. On the contrary, courts have balanced an individual’s
 14   “constitutionally protected liberty interest in refusing unwanted medical treatment”
 15   against societal interests like “the State’s interest in preventing disease.” Cruzan,
 16   497 U.S. at 278 (citing Jacobson, 197 U.S. at 24–30). “[W]hether respondent’s
 17   constitutional rights have been violated must be determined by balancing his liberty
 18   interests against the relevant state interests.” Id. at 279. Here, any minimal
 19   intrusion caused by the requirement to wear a mask in public is vastly outweighed
 20   by the State’s interest in curbing the spread of COVID-19—including the spread of
 21   COVID-19 caused by asymptomatic individuals, or individuals who otherwise
 22   believe themselves to be healthy.
 23        It does not matter that Plaintiff describes himself as “healthy.” See Opp’n at
 24   17:14–15. The State’s has an interest in preventing those who believe themselves
 25   to be healthy from spreading COVID-19: it is beyond reasonable dispute that such
 26   individuals may nevertheless spread COVID-19. See, e.g., S. Bay United
 27   Pentecostal Church, 140 S. Ct. at 1613 (“Because people may be infected but
 28   asymptomatic, they may unwittingly infect others.”). Moreover, courts have
                                                   7
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  1   recognized that even healthy individuals may be subject to compulsory vaccination
  2   for the sake of public health. See, e.g., Whitlow v. California, 203 F. Supp. 3d,
  3   1079, 1083 (S.D. Cal. 2016) (citing Jacobson, 197 U.S. at 27, and Zucht v. King,
  4   260 U.S. 174 (1922)). Compared to such vaccination, the Mask Order presents a
  5   lesser intrusion on individual liberty, outweighed by an even more compelling
  6   public-health interest: if healthy individuals may be subject to compulsory
  7   vaccination in the interest of public health even during normal times, surely
  8   potentially asymptomatic individuals may be required to wear a cloth face covering
  9   during a global pandemic.
 10        C.    Plaintiff’s Right-to-Travel Claim Fails.
 11        As outlined in the State Defendants’ motion to dismiss (ECF No. 12-1 at 22),
 12   Plaintiff’s right to travel claim fails for several reasons.
 13        First, the Mask Order does not implicate any right to travel. The Mask Order
 14   does not directly restrict Plaintiff’s ability to travel. Rather, like many other
 15   statutes, it regulates Plaintiff’s conduct in public settings. If restrictions on
 16   individual conduct in public settings implicated the right to travel, all sorts of laws
 17   regulating individual conduct would implicate the right to travel, and there would
 18   be many cases so holding. But Plaintiff cites none.
 19        Second, Plaintiff alleges only that the Mask Order “restricts his right to travel
 20   within the County” (SAC, ¶ 67), but “neither the Supreme Court nor the Ninth
 21   Circuit has recognized a constitutional right to intrastate travel.” Mendoza v.
 22   Garrett, 358 F. Supp. 3d 1145, 1173 (D. Or. 2018) (emphasis added); see Nunez ex
 23   rel. Nunez v. City of San Diego, 114 F.3d 935, 944 n.7 (9th Cir. 1994). Kolender v.
 24   Lawson, which rested on void-for-vagueness grounds, is not to the contrary. See
 25   461 U.S. 352, 360–62 (1983).8
 26
            8
 27           To the extent that Plaintiff challenges the Mask Order under the California
      Constitution’s right to travel, that claim is barred by sovereign immunity. See ECF
 28   No. 12-1 at 23, n. 16. (See also Section II.A, supra, and Section II.D., infra.)
                                                    8
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  1        Third, even assuming that the Mask Order implicates a constitutionally
  2   protected right to travel, it does not violate that right. The right to travel does not
  3   include a right to “endanger others by carrying contagion about.” Edwards v.
  4   California, 314 U.S. 160, 184 (1941) (Jackson, J., concurring). It is therefore
  5   subject to reasonable regulation in the name of public health—and the Mask Order
  6   is such a reasonable regulation.
  7        D.    Plaintiff’s Claim Under the California Constitution (Article I,
                 § 1) is Barred By Sovereign Immunity.
  8
  9        As explained in Defendants’ Motion to Dismiss (ECF No. 12-1 at 24)—and
 10   much like Plaintiff’s state-law argument concerning the scope of California’s police
 11   power (see supra, Section II.A) and the right to travel (see supra, Section II.C)—
 12   Plaintiffs’ claim under Article I, section 1 of the California Constitution (SAC,
 13   ¶¶ 80-85) is barred by sovereign immunity. “A federal court may not grant
 14   injunctive relief against state officials on the basis of state law.” Vasquez v.
 15   Rackauckas, 734 F.3d 1025, 1041 (9th Cir. 2013). Accordingly, this state-law
 16   claim should be dismissed. See Cholla Ready Mix, 382 F.3d at 973–74.
 17                                       CONCLUSION
 18        For the foregoing reasons, the Court should dismiss the Second Amended
 19   Complaint. Moreover, any attempt to “allege additional facts or alternative causes
 20   of action regarding but not limited to any current facts relating to the effectiveness
 21   of facial coverings in slowing the spread of COVID-19” (Opp’n at 21) would be
 22   futile. Accordingly, the complaint should be dismissed without leave to amend.
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                State Defendants’ Reply in Support of Motion to Dismiss Second Amended Complaint
                                                                                 (3:20-cv-00998)
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  1   Dated: September 1, 2020                        Respectfully Submitted,
  2                                                   XAVIER BECERRA
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  4
  5
  6                                                   /s/ Natasha Saggar Sheth
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  8                                                   Newsom and Erica Pan, in their
                                                      official capacities
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                State Defendants’ Reply in Support of Motion to Dismiss Second Amended Complaint
                                                                                 (3:20-cv-00998)
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                               CERTIFICATE OF SERVICE
 Case Name:       Forbes, Ashton v. County of San       Case No.     3:20-cv-00998
                  Diego, et al.

 I hereby certify that on September 1, 2020, I electronically filed the following documents with
 the Clerk of the Court by using the CM/ECF system:
          STATE DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
          SECOND AMENDED COMPLAINT
 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California the foregoing is true
 and correct and that this declaration was executed on September 1, 2020, at San Francisco,
 California.


                 M. Mendiola
                  Declarant                                           Signature
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